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       From: "Lambert, Lisa (USTP)" <Lisa.L.Lambert@usdoj.gov>
       Date: February 11, 2021 at 2:53:58 PM CST
       To: Judith Ross <Judith.Ross@judithwross.com>
       Cc: pneligan@neliganlaw.com
       Subject: RE: In re NRA; Case No. 21-30085-hdh-11



       Judith:

       Thank you for your email. We hope you are staying well, too.

       The NRA committee selection process was thorough to ensure adequate
       representation of all creditors’ interests. Your client’s interview typified the process.
       The committee has already met, organized, selected counsel, and begun work.

       Bill Neary, the United States Trustee, declines to add two members at this juncture.
       The members of the Office of the United States Trustee will continue to fulfill our
       statutory responsibility to monitor the creditors’ committee, and we will carry out our
       duties.

       Yours very truly,

       Lisa L. Lambert
       Assistant U.S. Trustee
       Office of the U.S. Trustee
       1100 Commerce, Room 976
       Dallas, TX 75242
       (202) 834-4233
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       From: Judith Ross <Judith.Ross@judithwross.com>
       Sent: Tuesday, February 9, 2021 5:50 PM
       To: Lambert, Lisa (USTP) <Lisa.L.Lambert@UST.DOJ.GOV>
       Cc: pneligan@neliganlaw.com
       Subject: In re NRA; Case No. 21-30085-hdh-11

       Hello Lisa,

       I hope you are doing well.

       You will recall that you invited my client, Membership Marketing Partners LLC, which
       was listed as the largest undisputed unsecured creditor in the debtors’ bankruptcy
       filings, to fill out the questionnaire you sent in order for my client to possibly serve on
       the Official Committee of Creditors Holding Unsecured Claims (“OCC”). Thereafter,
       you interviewed my client’s representative, Mr. Murray Drechsler for almost one hour.
       Last Friday, you advised Mr. Drechsler that Membership Marketing Partners LLC was
       not selected to serve on the OCC, and you sent him a list of members that would be on
       the OCC.

       Initially, my client has no issue with not being selected to serve on the OCC. However,
       my client and I have a tremendous issue with the makeup of the proposed OCC, and
       respectfully request that, at a minimum, at least two more creditors be added to the
       OCC. Let me explain this request.

       Without any organization meeting of the OCC having occurred, your office selected and
       then suggested that the Pension Benefit Guaranty Corporation serve as “Interim
       Chair.” This is so even though my client believes the PBGC to be, at best, a contingent
       creditor as there is no suggestion that there are any issues with the Debtor and any
       benefit obligations. Next, Ackerman McQueen Inc. was selected. As set forth in the
       initial filings by the Debtor, this creditor’s claim is DISPUTED and it is my client’s
       understanding that there is significant litigation pending between this creditor and the
       Debtor. Further, this highly contentious dispute does not relate solely to lack of
       payment.

       It appears that you selected InfoCision, Inc. (scheduled in the amount of $712,034.83)
       and Stone River Gear, LLC (scheduled as a creditor in the amount of $89,282.80), both
       of which seem appropriate members of the OCC.   But, David Dell’Aquila was selected
       even though he is not a creditor, but rather a donor who is seeking to organize other
       donors to challenge the current leadership of the Debtors without regard to the
       business operations of the Debtor.

       Why were these creditors selected over other creditors? I thought that the US
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       Trustee’s Office was supposed to select members that fairly represented members of
       the creditor body? Unfortunately, the majority of the creditors selected and put on the
       OCC do not appear to represent the interests of the majority of NRA creditors. And
       why was only a five-member OCC selected? Traditionally, the US Trustee’s office
       selects at least 7 members or more. It is unclear to me how appointing parties that
       avowedly want to destroy the NRA helps unsecured creditors in any way.

       In any event, I assume your Office is prepared to monitor all OCC members to ensure
       that they do not breach their fiduciary duties to other creditors in all respects. But, at a
       minimum, my client, Membership Marketing Partners LLC, and, I would trust, many if
       not most of the trade creditors of the Debtor, respectfully request that the Office of
       the United States Trustee forthwith appoint not less than two additional creditors from
       the Debtor’s List of Creditors to the OCC, so that the OCC can timely meet, become
       organized, and work for the benefit of all interested parties.

       By regular mail, I plan to send a copy of this email to other unsecured creditors listed
       on the Debtor’s 20 largest unsecured creditor list in hopes that some of them will want
       to join the OCC.



       Judith W. Ross
       Ross & Smith, PC
       Plaza of the Americas
       700 N. Pearl Street, Suite 1610
       North Tower
       Dallas, TX 75201
       (Main) 214-377-7879
       (Direct) 214-377-8659
       (Cell) 214-732-9743
       Judith.ross@judithwross.com
       https://www.judithwross.com/




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